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Krug!ov. Ga!ya
From:                          Kruglov, Galyna
Sent:                          Friday, January 27, 2012 3:27 PM
To:                            Sliman, Brian; Pfrogner, Colin; Martinez, Raymond; Patrick-Harris, Michelle; Rabelo, Octavio
Cc:                            Alvarez, Yesenia; Cano, Indira; Dellacasa-Diaz, Sandra; Estevez, Fank; Fritz, Michael:; Hall,
                               Arnita; Hester, Samantha; lnguanzo, Ramiro; Radig, Sue; Ramos, Heather; Sicily, Sandra
Subject:                       New Hire - Jessica Salabarria


Employee ID # 19928


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                 CITY OF MIAMI BEACH HUMAN RESOURCES DEPARTMENT
                                EMPLOYMENT REPORT

FOR BENEFIT PURPOSE ONLY:
POLICE BACKGROUND:         X                          HR BACKGROUND:
REHIRE:                                               NEW HIRE:    X
EMPLOYEE INFORMATION:
EMPLOYEE NAME: Jassica Salabarria
POSITION: Police Officer                              START DATE: 01/30/2012
HOURLY RATE: 23.55                                    DEPARTMENT: Police/Patrol
PREVIOUS INCUMBENT: Derick Kuilan
POSITION NUMBER: 5011-097
EMPLOYMENT STATUS:
PROBATIONARY: X I TEMPORARY:                          FULL-TIME:    X         ] PART-TIME:
UNION: FOP
BUDGET CODE: 1120
MILITARY VETERAN (YES/NO}: No
ORIENTATION: TBD
                                             TRAINING NEEDS
                               (Please note related Hyperlinks)
City Wide Mandatory Trainings: Diversity, Sexual Harassment, Team Building, Ethics, and
Service Excellence. Consult Organizational Development Master Training Calendar or
contact OBPI for the next available dates
              FOR EMPLOYEES WORKING IN SUPERVISORY CAPACITY ONLY:
Performance Appraisal (Offered by HR): n/a
Interview and Selection (Offered by HR): n/a
Disciplinary Action (Offered by HR): n/a
                                     SUPERVISOR'S CHECKLIST
              (Remember to go over everything that applies to the employee)
    •   Essential Piece and Key Intended Outcomes
    •   Employee Guide (Employee Handbook)
    •   Seryice Excellence policy
    •   City and Department Policies and Procedures:
          o Work Hours
          o Location of time clock, instructions on how to use
          o Attendance and tardiness regulations
          o Safety on the job (Department/Division/unit rules)
            Injury on the job (reporting procedure)
                                                              13
                                                                                                   CITY 000856
                                                                                792-P-03O6
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                                                                                            Page 2 of2


range, the City Manager's approval is required. Please attach a memorandum
justifying the request; this justification will be used by the Human Resources to make
a recommendation to the City Manager. Are you requesting the starting salary over
the minimum range?:

                                            Approvers
Level I Approval                Sliman, Brian                        043,5.PM
                                                             12/06/11-
                                                            de "
Level II Approval               Martinez, Raymond            12/08/11 03 :33 PM
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